               Case 21-01140-RAM         Doc 17    Filed 07/02/21   Page 1 of 3




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
IN RE:
                                                            CASE NO. 18-11977-BKC-RAM
JUAN GONZALEZ & CAROLINA GONZALEZ,                          In proceeding in Chapter 13
                                                            MIAMI-DADE DIVISION
           Debtors.
_______________________________________/

DR. MARIA GABRIELA NOGUERA,                                 ADV. CASE NO. 21-01140-RAM
DR. CARLOS RODRIGO MATUS MACNIVEN,
and GAVIOTA ENTERPRISE CORPORATION,

                Plaintiffs,
v.

JUAN A. GONZALEZ and CAROLINA
GONZALEZ,

           Defendants.
_______________________________________/

     DEFENDANTS’ REPLY TO PLAINTIFFS’ RESPONSE TO MOTIONS TO DISMISS

         COMES NOW, JUAN A. GONZALEZ and CAROLINA GONZALEZ, the
Defendants/Debtors herein, and hereby file this Reply to Plaintiff’s’ Response to
Motions to Dismiss, and state as grounds the following:
         1. On April 26, 2021, Plaintiffs filed an Adversary Complaint against the
Defendants/Debtors.
         2. On May 27, 2021, the Defendants/Debtors filed Motions to Dismiss the
Complaint.
         3. The Plaintiffs have three (3) initial issues:
                a. Establish that they are creditors and then whether the conduct of the
Debtors is subject to an adversary. This adversary is premature. It still needs to be
established that the Plaintiffs are even creditors. This is quite problematic as the
actions have taken place outside the United States. For reasons know n by the
Plaintiffs, they opted to ensure that the government of the United States would not have
any jurisdiction over the investments. The investments appear to be outside the United
States. On information and belief, the Plaintiffs reside in Venezuela. Juan A.
              Case 21-01140-RAM         Doc 17     Filed 07/02/21       Page 2 of 3




Gonzalez was an agent, not an owner of any investment company.               If in fact the
Debtor, Juan A. Gonzalez may be subject to the present adversary, the investment
company certainly should be a necessary and indispensable party as the Plaintiffs want
a return of their investment allegedly held by this entity. It seems logical that the entity
that received the investment should be a Defendant. It is not lost on the undersigned
that this is problematic as this Court may not have jurisdiction over this business entity.
The business entity Intertrust, is not based in the United States. It is located in Brazil.
Its website references the British Virgin Islands. It may likely be necessary for the
Plaintiffs to establish their claim in a court that has jurisdiction.    Subsequently, any
judgment would need to be domesticated. This potentially is problematic: would the
foreign court recognize this Court? Normally, chapter 13 cases do not have these
issues.
               b. What law to apply? If the Plaintiffs resided in Venezuela, and the
entity that made the investments is not located in the United States, the Laws of
Venezuela, Brazil, or the British Virgin Islands would apply. It is uncertain whether this
Court has authority to even determine jurisdiction or any adjudication. This Court could
have jurisdiction if there is a judgment, and then whether this Court, or the State of
Florida, acknowledges any adjudication. Issues:
                      1. This is subject to foreign law and the liability under that law;
                      2. If the Plaintiffs are creditors, what would be the claim and if there
is a claim, it is likely that the claim would be based on foreign law, and is it subject to
the US Bankruptcy Code, and the jurisdiction of the United States. The issue becomes
one of recognition of a foreign cause of action and possibly a subsequent foreign
judgment.
               c. The issue may also be if there is an adjudication in a foreign country,
the Plaintiff would need to domesticate the claim. Would this court or a state court
even agree to domesticate this claim.
       2. It has been alleged that Mrs. Gonzalez aided and abetted her husband.
There are no facts substantiating the allegation. The allegations are made solely
against Mr. Gonzalez.
       3. Paragraph 3 of the Response (D.E. 15) references the failure to notice the
              Case 21-01140-RAM         Doc 17    Filed 07/02/21    Page 3 of 3




Plaintiffs of the bankruptcy filing. A bankruptcy lists creditors; the Debtors contend that
the Plaintiffs are not creditors.
       4. Paragraph 9 references the Debtors’ request for dismissal on the ground that
any possible and disputed claim is barred by the Statute of Limitations. Paragraph 10
of the Response states that there were post petition procurement of monies. The
Plaintiffs’ should attempt to establish their rights in a court of proper jurisdiction. In the
event there is an adjudication, the Plaintiffs could advise the U.S. Bankruptcy Court of
the determination and whether the US Bankruptcy Court has any right to enforce a
foreign judgment. This suggestion will also resolve whether the Plaintiffs are possible
creditors.
       I hereby certify that a true copy of the foregoing has been sent electronically on
the 2nd day of July, 2021 to: Jeffrey Berlowitz, Esquire, Attorney for Plaintiffs; Nancy
Neidich, Trustee and Office of the U.S. Trustee and that I am admitted to the Bar of the
United States District Court for the Southern District of Florida and I am in compliance
with the additional qualifications to practice in this Court as set forth in Local Rule 2090-
1(A).

                                                   Bigge & Rodriguez, P.A.
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                                                   By: /s/Robert J. Bigge, Jr.
                                                          ROBERT J. BIGGE, JR., Esq.
                                                          Florida Bar No. 906610
